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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ALICIA SISAUDIA,

               Plaintiff,

       v.                                               Civil Action No. 1:22-cv-03689 (CJN)

US DEPARTMENT OF THE INTERIOR, et
al.,

               Defendants.


                                               ORDER

        Alicia Sisaudia, appearing pro se, seeks a declaratory judgment that the Cherokee Nation

District Court has exclusive jurisdiction over a child custody and visitation dispute. The Complaint

contains few factual allegations, but based on the parties’ briefing, it appears that Sisaudia

stipulated to an Arizona court order of joint custody over her minor child. A year later, Sisaudia

filed an action in the Cherokee Nation District Court seeking sole custody, which was dismissed

for lack of jurisdiction. Instead of appealing that dismissal, Sisaudia filed this suit, contending that

the Cherokee court has exclusive jurisdiction over all custody and visitation issues arising from

her divorce proceedings.

        Specifically, Sisaudia asks this Court to issue a declaratory judgment “that the Cherokee

Nation District Court has jurisdiction over all tribal members for all civil matters not limited by

Congress regardless of where they live, including [her custody dispute].” Compl. ¶ 41.7, ECF No.

1. She names as defendants the Department of the Interior, the Secretary of the Interior, Cherokee

Nation, and the Principal Chief of the Cherokee Nation. She also moves to join as defendants the




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Commissioner of Indian Affairs and a judge on the Cherokee Nation District Court. The federal

and Cherokee defendants filed separate motions to dismiss.

       The Court will grant both motions. As the defendants point out, this case presents multiple

jurisdictional defects, but the Court will focus on one relevant to all defendants (including the

parties Sisaudia seeks to join)—redressability. To establish redressability, Sisaudia must show

that her alleged injuries—the Cherokee court’s dismissal of her case, and the Arizona court’s

unspecified adverse rulings—will likely be remedied “by a favorable decision.” Lujan v. Defs. of

Wildlife, 504 U.S. 555, 561 (1992) (quotations omitted). But granting Sisaudia the relief she seeks

here would not undo the Cherokee court’s dismissal or the Arizona court’s allegedly adverse

rulings; indeed, there are no Arizona defendants in this case at all. As a result, this Court would

simply be issuing “an abstract and advisory judicial pronouncement” on the scope of tribal

jurisdiction. Firearms Policy Coalition v. Barr, 419 F. Supp. 3d 118, 127 (D.D.C. 2019); see also

Pls.’ Opp’n to Cherokee Nation’s Mtn. to Dismiss at 3, ECF No. 15 (“This Declaratory Relief will

simply be helping the Indian tribes . . . to understand their jurisdiction, [and it] will also help to

inform the various states about tribal jurisdiction.”).

       Because a declaratory judgment in Sisaudia’s favor is not likely to remedy her alleged

harm, the Court lacks subject matter jurisdiction. 1       It is accordingly ORDERED that the

defendants’ motions to dismiss, ECF Nos. 7 and 8, are GRANTED without prejudice. It is further

ORDERED that the plaintiff’s motions to join additional parties, ECF Nos. 13 and 14, as well as

her motion to strike, ECF No. 22, are DENIED AS MOOT.




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  Even if the Court had Article III jurisdiction, it would exercise its discretion to deny declaratory
relief here. See Nepal v. Dep’t of State, 602 F. Supp. 3d 115, 129 (D.D.C. 2022) (“Courts often
decline to exercise that discretion where it is unclear declaratory judgment would have any real
remedial effect.”).
                                                  2
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      This is a final appealable order.

      The Clerk is directed to terminate the case.


DATE: July 10, 2023
                                                     CARL J. NICHOLS
                                                     United States District Judge




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